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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                    (Palm Beach Division)

                              Case No. 9:19-CV-80633-ROSENBERG


   SECURITIES AND EXCHANGE COMMISSION,

          Plaintiff,
   v.

   NATURAL DIAMONDS INVESTMENT CO.,
   et al.,

          Defendants,

   H.S. MANAGEMENT GROUP LLC, et al.,

         Relief Defendants.
   ______________________________________________/

                         NOTICE OF FILING SIXTH QUARTERLY
                  STATUS REPORT OF RECEIVER JEFFREY C. SCHNEIDER

          Pursuant to paragraphs 46 and 47 of Section XII of this Court’s Order Granting Motion for

   Appointment of Receiver [DE 20], Jeffrey C. Schneider, not individually, but solely in his capacity

   as the Court-appointed Receiver for Natural Diamonds Investment Co., Eagle Financial Diamond

   Group, Inc., and Argyle Coin, LLC, hereby files his Sixth Quarterly Status Report for the quarter

   ending September 30, 2020.

   Dated: October 30, 2020                              Jeffrey C. Schneider, P.A.
                                                        Court-Appointed Receiver
                                                        201 South Biscayne Blvd.
                                                        Citigroup Center, 22nd Floor
                                                        Miami, Florida 33131
                                                        Telephone: 305.403.8788
                                                        Facsimile: 305.403.8789
                                                        Email: jcs@lklsg.com

                                                        By: /s/ Jeffrey C. Schneider
                                                           JEFFREY C. SCHNEIDER, P.A.
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                                    CERTIFICATE OF SERVICE

          I hereby certify that on October 30, 2020, I electronically filed the foregoing document

   with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

   served this day on all counsel of record or pro se parties identified on the attached Service List in

   the manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF

   or in some other authorized manner for those counsel or parties who are not authorized to receive

   electronically Notices of Electronic Filing.

                                                         By: /s/ Jeffrey C. Schneider
                                                            JEFFREY C. SCHNEIDER, P.A.




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                                        SERVICE LIST

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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                    (Palm Beach Division)

                              Case No. 9:19-CV-80633-ROSENBERG


   SECURITIES AND EXCHANGE COMMISSION,

          Plaintiff,

   v.

   NATURAL DIAMONDS INVESTMENT CO.,
   et al.,

          Defendants,

   H.S. MANAGEMENT GROUP LLC, et al.,

         Relief Defendants.
   ______________________________________________/

    SIXTH QUARTERLY STATUS REPORT OF RECEIVER JEFFREY C. SCHNEIDER

          Pursuant to paragraphs 46 and 47 of Section XII of the Order Granting Plaintiff Securities

   and Exchange Commission’s Motion for Appointment of Receiver [DE 20] (the “Appointment

   Order”), Jeffrey C. Schneider, not individually, but solely in his capacity as the Court-appointed

   Receiver (the “Receiver”) for Natural Diamonds Investment Co. (“NDIC”), Eagle Financial

   Diamond Group, Inc. (“EFDG”), and Argyle Coin, LLC (“Argyle”) (collectively, the

   “Receivership Entities”), submits his Sixth Quarterly Status Report for the quarter ending

   September 30, 2020.

                                         INTRODUCTION

          On May 16, 2019, this Court appointed me as Receiver for Argyle. On March 28, 2019,

   approximately two months before my appointment as Receiver in this case, the Honorable Donald

   Middlebrooks appointed me as Corporate Monitor for NDIC and EFDG in Rounds v. Natural

   Diamonds Investment Co., et al., Case No. 18-cv-81151 (the “Corporate Monitor Action”). I then
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   filed a motion requesting that this receivership be expanded to include NDIC and EFDG in order

   to avoid two separate proceedings and reduce expenses for the benefit of the victims of the fraud

   [DE 97]. On July 11, 2019, this Court granted that request and expanded the receivership to

   include NDIC and EFDG [DE 104]. I then moved to close the Corporate Monitor Action, so NDIC

   and EFDG are now part of this receivership, and the Corporate Monitor Action has been closed.

          As a reminder, pursuant to paragraph 46 of the Appointment Order, I am required to file

   Quarterly Status Reports within 30 days of the end of each calendar quarter. The last quarter ended

   on September 30, 2020, so I am filing this Report by the October 30th deadline.

          Pursuant to paragraph 47 of the Appointment Order, the topics herein include:

                  A. A summary of my operations;

                  B. The amount of cash on hand, the amount and nature of accrued
                     administrative expenses, and the amount of unencumbered funds
                     in the estate;

                  C. A schedule of all the receipts and disbursements (attached as
                     Exhibit A to the Quarterly Status Report) of the receivership,
                     with one column for the quarterly period covered and a second
                     column for the entire duration of the receivership;

                  D. A description of all known Receivership Property, including
                     approximate or actual valuations, anticipated or proposed
                     dispositions, and reasons for retaining assets where no
                     disposition is intended;

                  E. A description of liquidated and unliquidated claims held by the
                     Receivership Estate, including the need for forensic and/or
                     investigatory resources; approximate valuations of claims; and
                     anticipated or proposed methods of enforcing such claims
                     (including likelihood of success in: (i) reducing the claims to
                     judgment; and, (ii) collecting such judgments);

                  F. A list of all known creditors with their addresses and the
                     amounts of their claims;

                  G. The status of Creditor Claims Proceedings, after such
                     proceedings have been commenced; and,


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                  H. My recommendations for a continuation or discontinuation of
                     the receivership and the reason for the recommendations.

          I will continue to address these topics one-by-one below.

      A. A Summary of the Operations of the Receiver

          1. Procedural Background in This Proceeding

          On May 13, 2019, the Securities and Exchange Commission (the “SEC”) filed an

   emergency action in this Court to enjoin NDIC, EFDG (a/k/a Diamante Atelier), and Argyle

   (again, the “Receivership Entities”), and their owners, Jose Aman, Harold Seigel and Jonathan

   Seigel. In the Complaint [DE 1], the SEC asserted various claims against the Receivership

   Entities, Aman, and the Seigels. Essentially, the SEC alleged that the Receivership Entities were

   a three-tiered Ponzi scheme that promised hundreds of investors unreasonably large investment

   returns that ranged from 24% to 100% every year to two years for signing investment contracts

   that were supposedly backed by diamonds worth tens of millions of dollars. The SEC alleged that

   the Receivership Entities raised approximately $30 million from approximately 300 investors in

   Canada and the United States from late 2013 through the present.

          The SEC also filed a Motion for Temporary Restraining Order, Asset Freeze, and Other

   Relief [DE 4] and a Motion for Appointment of Receiver [DE 7]. The SEC advised this Court that

   I had been appointed as Corporate Monitor for NDIC and EFDG in the Corporate Monitor Action,

   which was then also pending in the Southern District of Florida.

          As a result of the SEC’s efforts, this Court granted the SEC’s requests and, among other

   things, appointed me as Receiver for Argyle. I thereafter assumed full control of Argyle to secure,

   conserve, hold, manage, and prevent the loss of its assets. Similarly, given the expansion of the

   receivership to include NDIC and EFDG, this brought NDIC and EFDG into the fold of this case,

   with concomitant obligations to secure and hold NDIC’s and EFDG’s assets.


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          There have been asset freezes over Defendants Aman, Harold Seigel and Seigel entity H.S.

   Management Group LLC (a Seigel entity that received approximately $4.4 million from the

   Receivership Entities, and thus a relief defendant) [DE 40]. In addition, there have been asset

   freezes over the other relief defendants, including approximately $2 million frozen in accounts in

   the names of Relief Defendants Winners Church International Inc. of West Palm Beach Florida

   (“Winners Church”) and Fredrick and Whitney Shipman (collectively, the “Shipmans”) [DE 59],

   and dozens of diamonds and jewelry pieces held by Relief Defendant Gold 7 of Miami, LLC

   (“G7”) [DE 55]. As discussed below, the SEC settled its claims against Winners Church and the

   Shipmans, so the approximately $2 million that was frozen has been deposited into the Court’s

   registry and will, upon Court approval, be transferred to me to distribute, again upon Court

   approval, to the victims. Also, as previously reported, a settlement was reached at mediation

   between the SEC, G7, and me. We finalized and filed the various G7 settlement documents [DE

   251, DE 252]. The Court has approved the settlement by issuing the SEC’s requested Judgment

   against G7 [DE 257] and the Order [DE 259] approving the settlement agreement between me and

   G7 [DE 252-1]. Just yesterday (October 29th), I obtained possession of the 53 pieces from G7

   pursuant to the settlements.

          Since my appointment, my professionals and I have been working to effectuate my

   obligations under the Appointment Order. As discussed more fully below, this work has primarily

   involved identifying and securing assets of the Receivership Entities, as well as preserving the

   Receivership Entities’ books and records (hard copy and electronic).

          Throughout this process, my professionals and I have continued to work cooperatively with

   the SEC and other agencies, with each side mindful of their respective responsibilities and duties.

   The coordination of my and the SEC’s efforts has resulted in many accomplishments for the benefit



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   of the Receivership Estate and its victims, including the recent global settlement between the SEC,

   G7 and me, which is further discussed below.

          2. Communications with Aman and the Seigels

          I have continued to communicate with Aman’s and Seigels’ counsels regarding relevant

   receivership issues, including, among other things: (i) the present location of diamonds, including

   those owned by investors or clients of the Seigels (further discussed below); (ii) the location of

   investor funds; (iii) an explanation and accounting of what happened to the purported $30-plus

   million that was raised from the investors; (iv) the list of all investors, with contact information

   and their investment history; and/or (v) the nature and explanation of the NDIC, EFDG, and Argyle

   businesses and investments.

          As further discussed below in Section D.8, infra, Harold Seigel and HS did not comply

   with their Court-required obligations, thus necessitating the filing by me of a renewed motion to

   compel the Seigels to comply with their obligations under the Receivership Order. A hearing was

   held, and the magistrate judge directed them to respond to certain questions that I posed to them

   and to produce certain documents. They have appealed that order to the district judge. In the

   meantime, despite having their motion to stay denied, the Seigels have not complied with the

   Receivership Order or the Magistrate’s order directing them to do so.

          3. The Business

          As previously reported, there is no operating business for the Receivership Entities. All

   company bank accounts were depleted and closed as of my appointment. The Receivership

   Entities’ websites remain shut down. I have instructed Aman and the Seigels that they cannot

   continue the investments they previously did through the Receivership Entities.

          As reported previously, I have also received hard copy files of dozens of boxes of

   documents and the corporate computer’s CPU from the former business premises.

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          4. Subpoenas

          I previously reported the various subpoenas I served to third parties to discover information

   about assets and the use of investor funds. I have received the subpoena productions.

          5. Additional Demands

          As a reminder, I served several demand letters on third parties who received (or may have

   received) money or assets that are or may be subject to the Appointment Order and may be required

   to return those items. Most have responded at this juncture. For those that have not yet responded,

   I have consulted the SEC about possible courses of action, mindful that the expense of the

   undertaking has to be justified given the potential recovery.

          6. The Business Premises

          I previously reported that I inspected the former business premises located at 125 Worth

   Avenue, Suite 203, Palm Beach, Florida 33480; removed the remaining furniture, fixtures, and

   equipment within; secured the books and records within; signed a cancellation of lease and limited

   release with the landlord (in which the lease was formally cancelled and I was released of any

   obligation to continue to pay rent); and filed a motion to sell the furniture, fixtures, and equipment

   [DE 41, 42 in the Corporate Monitor Action].

          There were not that many office items to sell. Unfortunately, they were not too valuable,

   according to the preliminary assessments by the auctioneer, who at first did not even want the

   items. I ultimately sold the various office items through my own efforts for a total amount of

   $2,555.00 without having to incur any storage expenses. The sales proceeds were deposited in the

   EFDG/NDIC receivership account because the lease was in EFDG’s name.

          7. Other Pending Lawsuits

          There have been many pending lawsuits against the Receivership Entities, the Seigels,

   and/or Aman. I continue to communicate with the lawyers in the known pending cases to inform

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   them of the Appointment Order and to confirm that the various courts are observing the stay of the

   other lawsuits. Importantly, the Appointment Order in Section VII, paragraphs 27-29, prohibits

   anyone from suing the Receivership Entities or executing on their assets. All known pending

   claims against the Receivership Entities in the other lawsuits should be or remain stayed, although

   the claims against Aman and/or the Seigels in several lawsuits remain pending. I also continue to

   reserve all rights to bring the stay issue before this Court, if necessary. Several of the pending

   lawsuits have required action by me recently, as the courts have issued notices of lack of

   prosecution (and some have been dismissed for lack of prosecution during the applicable period),

   because the cases have been dormant because of the stay, so I have worked with investor counsel

   to confirm that the stay remains in place in those cases.

          8. Receivership Appraiser

          As previously reported, I retained as my receivership diamond/jewelry appraiser Jewelry

   by Frank Inc. Appraisal Service (principal Frank Graziano) (the “Appraiser” or “Jewelry by

   Frank”). The Appraiser is familiar with the diamonds in the receivership because Mr. Graziano

   previously appraised a large amount of the inventory of the diamonds of the Receivership Entities

   before my appointment. That prior experience and familiarity with the diamonds benefitted the

   Estate, including by saving expenses associated with appraising the many diamonds I secured. As

   also previously reported, the Appraiser has concluded three separate appraisals of: (i) the 104

   pouches of rough colored diamonds that Aman turned over to me when this proceeding began and

   Aman’s fiancée’s engagement ring that Aman also turned over; (ii) the 38 pieces from the prior

   Carmelo De Stefano settlement; and (iii) the 53 diamonds/jewelry pieces held by G7 and subject

   to the recent Court-approved G7 settlement agreement, which are also further discussed below.




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          9. Receivership CPA

          Pursuant to para. 50 of Section XIII of the Appointment Order, I filed, and this Court

   promptly granted, a motion to employ the accountants at the accounting firm Kaufman & Company

   P.A. [DE 202, 210]. Dana M. Kaufman, J.D., CPA, CVA, CFE, who is the principal shareholder

   of the firm, will have primary responsibility for this matter. Mr. Kaufman’s curriculum vitae (with

   a partial case list) was attached as Exhibit A to the motion to employ.

          Mr. Kaufman is a longtime, respected certified public accountant and certified fraud

   examiner in South Florida. Mr. Kaufman is also a lawyer and has been appointed as a receiver

   several times in state and federal courts. Kaufman & Company P.A. specializes in, among other

   things, forensic accounting/litigation support in domestic relations, commercial litigation and

   bankruptcy and receivership matters; federal and state tax planning; federal and state tax return

   preparation; representation of clients before the IRS, Tax Court, and the various states’ tax

   departments; and preparation of financial statements.

          I needed to employ accountants because the Receivership Entities, through me as Receiver,

   need to prepare and file tax returns for certain prior tax years, tax year 2019, and future tax years.

   This is the sole reason for employing Kaufman & Company P.A. at this time.

          10. Marketing Plan

          I have had discussions with a local and well-respected auctioneer about planning for, and

   conducting, an auction for the pieces that I have secured. Because of the COVID-19 crisis, my

   plan is still to conduct the auction on the internet and to first market the auction through online

   internet advertising, telemarketing, e-marketing, social networking, and advance auction

   promotions in local and regional newspapers.




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           I have waited to conduct the auction for two reasons. First, the ongoing pandemic has

   certainly impacted the sales price of the various pieces that I am holding. If a short delay results

   in significantly increased prices, it is worth it; if the delay becomes too long, then I will rethink it.

           Second, during the applicable period, G7 and I signed a settlement agreement, after which

   I filed a Motion to Approve, which the Court promptly granted [DE 252, 259]. Regarding the G7

   diamonds, and as previously reported, I have wanted to avoid incurring the expense of two auctions

   because there is a certain economies of scale that would be realized by marketing and auctioning

   all of the pieces at the same time, so I have waited to market the other diamonds until I receive the

   G7 settlement diamonds. I am happy to report that I received those diamonds yesterday (October

   29th), and they are secured in the receivership safe deposit box.

           11. Aman Indictment

           Aman was arrested in September 2020. The Government charged Aman with a single

   criminal count of wire fraud in connection with the allegations in this case. Aman waived his right

   to prosecution by indictment, had a $25,000 bond set, and has pled guilty. Aman’s sentencing is

   scheduled for December 8, 2020. The case is United States v. Aman, Case No. 9:20-cr-80062, in

   the U.S. District Court for the Southern District of Florida.

       B. The Amount of Cash on Hand, the Amount and Nature of Accrued Administrative
          Expenses and the Amount of Unencumbered Funds in the Estate

           As of September 30, 2020, there was $20,415.75 in the Argyle receivership bank account.

   The source of these funds was the remaining retainer funds held by two law firms that previously

   represented Argyle. I was previously unaware of these funds and learned about them through my

   own investigation during a prior quarterly period.

           Specifically, Steptoe & Johnson LLP turned over $11,558.50 and Lexcuity PC turned over

   $8,987.50. As a reminder, there were no funds remaining in Argyle’s bank accounts as of my


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   appointment in May 2019 and there were no funds in the Argyle receivership account until the

   transfers to me by these two firms during a prior quarterly period.

          The Argyle receivership account will be further funded in the future once I sell the 104

   pouches of rough diamonds and the engagement ring, which this Court has authorized me to do

   [DE 168, 179]. In addition, and as discussed below, the Argyle receivership account will be further

   funded once I sell the 38 jewelry/diamonds acquired from my settlement with Mr. De Stefano [DE

   197-198], which this Court has also authorized me to sell. 1 In addition, and as discussed below,

   the Argyle receivership account will be further funded, upon Court-approval, with the approximate

   $2 million in settlement monies funded by Relief Defendants Winners Church/the Shipmans.

          As previously reported, I established an NDIC and EFDG receivership bank account in

   early April 2019 to deposit and safeguard their funds in connection with the Corporate Monitor

   Action. As of September 30, 2020, there was $48,500.70 in that account.

       C. A Schedule of All the Receiver’s Receipts and Disbursements (Attached as Exhibit A
          to the Quarterly Status Report), with One Column for the Quarterly Period Covered
          and a Second Column for the Entire Duration of the Receivership

          Attached as Exhibit A is the required schedule of my receipts and disbursements during

   the subject quarterly period. The attached schedule reflects the balances delineated above for the

   Argyle and EFDG/NDIC receivership accounts, respectively.




   1
      I previously filed, and the Court promptly granted, a motion for authorization to sell the 38
   jewelry/diamonds from the De Stefano settlement using my discretion and on my proposed terms,
   similar to the 104 pouches of rough diamonds and the engagement ring [DE 200-201].

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      D. A Description of All Known Receivership Property, Including Approximate or Actual
         Valuations, Anticipated or Proposed Dispositions, and Reasons for Retaining Assets
         Where No Disposition Is Intended

          1. The Funds Deposited into the Court’s Registry

          As previously reported, the SEC settled with Winners Church and the Shipmans.             The

   settlement was for approximately $2 million, which is the total amount of money that the church

   and its principals received from Aman and/or the Receivership Entities. The settlement was a

   remarkable result by the SEC on the victims’ behalves. The settlement was memorialized in

   various signed and filed Consents by Winners Church and the Shipmans [DE 148-1, 149-1, 150-

   1], which attached proposed Final Judgments for each relief defendant.

          On December 11, 2019, this Court issued Final Judgments against Winners Church and the

   Shipmans [DE 164-166]. The Final Judgments required Winners Church and the Shipmans to

   deposit specified funds into the Court’s registry within certain timeframes.

          On December 20, 2019 (docketed on December 23, 2019), Winners Church and the

   Shipmans deposited various funds totaling $1,444,221.58 into the Court’s registry [DE 170-174].

   On January 2, 2020 (docketed on January 3, 2020), Frederick Shipman deposited an additional

   $229,372.06 [DE 177]. On July 16, 2020, Frederick Shipman deposited an additional $287,799.07

   [DE 222-223]. Thus, a total of at least $1,961,392.71 has been deposited into the Court’s registry.

          Pursuant to the Final Judgments, I am permitted to file a motion for transfer of the deposited

   funds to me, as Receiver, for the benefit of the Receivership Estate and its victims. As such, I

   intend to file that motion as soon as the two predicates for filing that motion occur. First, the

   subject funds must be deposited into the Court’s registry. As stated above, funds totaling at least

   $1,961,392.71 have already been deposited into the Court’s registry.           Second, an order of

   disgorgement must be entered against either EFDG, NDIC, Argyle, or Aman. As of this Report,

   such has not occurred, but I anticipate that such disgorgement orders will be entered shortly.

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          2. The Diamonds

          Shortly after my appointment, I learned that several people and companies were holding

   diamonds owned by EFDG/NDIC and/or swept into the underlying EFDG/NDIC scheme. I

   discuss what I received, from whom, and the current the disposition of those assets below.

              a. Aman

          As previously reported, I obtained 104 pouches of uncut, unpolished colored diamonds

   from Aman shortly after I was appointed. The inventory of the 104 pouches of rough diamonds

   was attached as Exhibit B to my First Report. I also obtained Aman’s fiancée’s engagement ring.

   All of these items have been appraised, are located in my safe deposit box, and are approved for

   sale to third parties using my discretion and on my terms.

          As stated above, I am in the process of marketing, selling, and monetizing for the victims’

   benefit those diamonds and will deposit all sales proceeds in the Argyle receivership account for

   their benefit. Given the worldwide pandemic of COVID-19, my efforts to market and sell these

   pieces (as well as additional pieces further discussed below) have been and will likely continue to

   be impaired for a period of time. However, as discussed above, I continue to have discussions

   with a well-respected local auctioneer to develop a marketing plan and a proposal for marketing,

   auctioning, and selling the pieces I am holding. I am hopeful to still successfully market and sell

   these pieces during these difficult times.

          Although I have appraised these items, I cannot disclose the appraised values because

   doing such would likely lower any offers or bids I ultimately receive. However, I can state that

   the rough, uncut diamonds are not worth millions of dollars in their current state. The 104 pouches

   also do not contain the 19-carat rough green diamond that was the centerpiece of many EFDG

   investment contracts. That diamond was held by G7, was subject to this Court’s asset freeze, and

   is subject to the Court-approved settlements between the SEC, G7, and me further discussed below.

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                b. Harold Seigel

            As previously reported, Harold Seigel was holding two cut yellow diamonds of 1.27 and

   2.37 carats. Shortly after my appointment as Corporate Monitor, I learned that these two diamonds

   had been provided by Aman to Seigel’s counsel (in the Corporate Monitor Action) as potential

   security for the payment of legal bills. The transaction was documented through a memorandum

   of the d/b/a for EFDG, Diamante Atelier. The diamonds had been returned by Seigel’s counsel to

   Seigel through Aman’s sister almost immediately before EFDG’s/NDIC’s decision to stipulate to

   my appointment as Corporate Monitor in the Corporate Monitor Action. I was not initially advised

   by the Seigels or their then counsel of these diamonds or this transfer (which, again, immediately

   preceded my appointment). When I learned about it, given these circumstances, I demanded that

   the two diamonds be turned over to me. The next day, Mr. Seigel delivered the two diamonds to

   me, which bear GIA numbers 2105851842 and 17207398. The two diamonds are located in my

   safe deposit box and have been inventoried. The inventory was previously attached as Exhibit D

   to my First Report.

            During my investigation, I learned that these two diamonds are actually owned by an

   individual and are not owned by the Receivership Entities, nor were they invested with any of the

   Receivership Entities.      The individual who owns these two diamonds has provided to me

   satisfactory proof of ownership. I intend to file a motion in the near future for an Order

   determining the ownership of these two diamonds and others (discussed below). 2

                c. Investors

            Certain investors had been holding diamonds and/or jewelry owned by EFDG/NDIC.

   Aman gave such items to certain investors to hold as a sign of good faith for making future



   2
       For privacy purposes, I will not be disclosing the identity of the relevant individuals.

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   payments under the investment contracts.        I sent the investors a demand letter requesting

   immediate turnover of the diamonds or jewelry to me.                  One investor returned the

   diamonds/jewelry; however, others ignored my demand or informed me that they have already

   sold the pieces prior to my appointment. The acknowledgement of receipt/list of investor-returned

   diamonds was previously attached as Exhibit E to my First Report.

          These diamonds are also located in my safe deposit box, have been inventoried, and will

   be appraised and sold through a Court-approved motion for the benefit of the Receivership Estate

   and its victims.

          If an investor ultimately refuses to return any diamonds/jewelry to me, I will evaluate filing

   a turnover motion or lawsuit. In addition to a turnover motion or lawsuit, I may recommend

   denying their potential claim in the anticipated future claims procedure. At this time, I am

   continuing to not name these investors, as I do not want to disclose potential targets.

          I anticipate that I will continue to learn new names of investors who received and/or are

   holding diamonds/jewelry as this proceeding continues. I also previously demanded that Aman

   and the Seigels provide me with a full written accounting of all investors who previously received

   and/or are holding diamonds/jewelry so I can send them a demand for their immediate turnover.

              d. Vendors

          Like investors, vendors such as the landlord for the Receivership Entities’ business

   premises, 125 Worth Partners LLC, had been holding diamonds owned by EFDG/NDIC. My

   understanding is that, just like certain investors, Aman gave diamonds to the landlord to hold as a

   sign of good faith for making future rent payments. I sent the landlord a series of demand emails

   requesting immediate turnover to me. The landlord complied and turned over five diamonds to

   me.   The diamonds are located in my safe deposit box and have been inventoried.                The

   acknowledgement of receipt/list was attached as Exhibit F to my First Report.

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             During my investigation, I learned that one of the landlord diamonds is actually owned by

   an individual and is not owned by the Receivership Entities, nor was it invested with any of the

   Receivership Entities. The subject diamond bears GIA number 2135394395. The individual who

   owns the diamond has also provided to me satisfactory proof of ownership. Again, I intend to file

   a motion in the near future for an Order determining the ownership of this specific diamond.

             There are additional vendors that had diamonds from EFDG/NDIC. For example, one of

   the companies that sold rough diamonds to EFDG/NDIC is the American Institute of Diamond

   Cutting, Inc. In addition, there were other transactions with that company, including consignments

   of diamonds and jewelry. I sent a demand letter to the American Institute of Diamond Cutting,

   Inc. (“AIDC”), which responded that it had three diamonds to turn over. AIDC complied and

   turned over the three diamonds to me. These diamonds are located in my safe deposit box and

   have been inventoried. The acknowledgement of receipt/list was attached as Exhibit G to my First

   Report.

             I have identified two individuals who own the three AIDC diamonds, which bear GIA

   numbers 14933242, 15114587, and 2155112349. One individual has provided satisfactory proof

   of ownership of two of the three diamonds, and I have independently confirmed the interest of the

   other person in the other diamond. As stated above, I will soon be filing a motion to determine

   the ownership of these specific diamonds.

                e. Non-Party Carmelo De Stefano

             I learned that non-party Carmelo De Stefano likely had many diamonds or pieces of jewelry

   that derived from the Receivership Entities. Mr. De Stefano was Aman’s friend, was an Argyle

   employee, and was a business partner with Aman involving a Diamante Atelier business venture.

             I sent Mr. De Stefano a demand letter, negotiated, and ultimately obtained possession of

   38 pieces of jewelry and diamonds from Mr. De Stefano pursuant to an Agreed Order [DE 73].

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   The diamonds are located in my safe deposit box and have been inventoried.                    The

   acknowledgement of receipt/list was previously attached as Exhibit H to my First Report.

           On September 27, 2019 and October 23, 2019, I met with Mr. De Stefano and his counsel

   to discuss the 38 jewelry/diamonds he previously turned over and other relevant issues. Mr. De

   Stefano has been cooperative. During the quarterly period of October-December 2019, Mr. De

   Stefano and I came to an agreement in principle regarding a settlement of the jewelry/diamonds.

   I filed a motion to approve the settlement agreement, which this Court promptly granted [DE 197-

   198].   As a result of the settlement, Mr. De Stefano relinquished any interest in the 38

   diamonds/jewelry. During a prior period, I filed a motion to sell, which this Court promptly

   granted, the subject 38 diamonds/jewelry for the benefit of the victims [DE 201-202]. I also

   appraised the diamonds/jewelry with the Appraiser, which were collectively appraised for more

   than $500,000. 3

           Like the 104 pouches of rough diamonds and engagement ring, I am currently marketing

   and attempting to sell for the victims’ benefit the 38 diamonds/jewelry diamonds, the sales

   proceeds of which will be deposited in the Argyle receivership account. Again, given COVID-19,

   my efforts to market and sell these pieces have been and will likely continue to be impaired for a

   period of time. However, as stated above, my engaged local auctioneer has developed a marketing

   plan and a proposal for marketing, auctioning, or otherwise selling the 38 diamonds/jewelry

   diamonds. Therefore, I am hopeful to still successfully market and sell these pieces during these

   difficult times.




   3
      The total minimum appraisal range was previously disclosed because the matter involved a
   proposed settlement that the Court had to approve, so the settlement’s consideration was required.

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              f. Local Diamond Stores

          Shortly after my appointment as Corporate Monitor, Aman disclosed to me that there were

   two local jewelry stores that had recently received valuable diamonds owned by EFDG/NDIC.

                          i.      G7

          The first store was G7, which is located near the Seybold Building in Downtown Miami.

   G7 is a Relief Defendant in this case. I re-incorporate the previously-reported information

   regarding G7 from my prior reports to eliminate continued redundancy.

          Mediation between the SEC, G7, and me occurred on March 3, 2020. 4 I was part of the

   mediation because G7 informed me that it would seek a release from me/the Receivership Entities

   for purposes of a potential global settlement with the SEC. The matter settled in principle, and

   during the applicable quarter, global settlement documents were finalized, signed, filed and Court-

   approved, including (i) a consent from G7 [DE 251-1] and final judgment against it [DE 257]; and

   (ii) a motion to approve settlement agreement between G7 and me [DE 252], settlement agreement

   between G7 and me [DE 252-1], and Order granting [DE 259]. The specific settlement terms

   include, but are not limited to, the following:

                  a. Upon the Court’s approval of the settlement agreement, I shall begin to sell the
                     53 items of diamonds/jewelry (the “53 Diamonds/Jewelry”);

                  b. Upon the Court’s approval of the settlement agreement, I shall be deemed the
                     legal, lawful, and appropriate owner of the 53 Diamonds/Jewelry and shall have
                     the unqualified right to sell the 53 Diamonds/Jewelry;

                  c. The proceeds of sales of the 53 Diamonds/Jewelry shall be deposited with me
                     in the Receivership Estate’s account and then distributed as follows: (i) G7 shall
                     receive the first $250,000.00; and (ii) G7 and the Receivership Estate shall split
                     the remaining proceeds of sales, 50/50, until G7 receives no more than
                     $350,000.00 (including the initial $250,000) in total. All remaining sales
                     proceeds shall belong to and remain with the Receivership Estate;


   4
     The Seigels did not attend mediation because the Court excused them from attending based on,
   in part, their representations that they could not afford it [DE 189-192].

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                  d. I shall use my best efforts to sell the 53 Diamonds/Jewelry promptly and for a
                     good price. However, I shall have the sole authority to sell the 53
                     Diamonds/Jewelry in my sole discretion regarding pricing, the manner of sale,
                     and whether to cut any of the pieces that are rough diamonds;

                  e. G7 shall have the right to file a motion if it believes that I am selling the 53
                     Diamonds/Jewelry too slowly or too cheaply;

                  f. Upon transfer of the $350,000.00 to G7, G7 shall not have the right to submit,
                     and therefore waives submitting, a future claim form in the receivership for any
                     alleged damages it may have suffered as a result of Aman and/or the
                     Receivership Entities;

                  g. Certain investors or nonparties have claimed to me that their diamonds are
                     among the 53 Diamonds/Jewelry. I shall address that issue by separate Motion.
                     If necessary, such pieces shall be removed from the universe of pieces to be
                     sold—while that issue is being addressed by the Court—so as to not delay
                     liquidating the remaining pieces; and

                  h. I make no representations or warranties on the impact of any potential filings
                     by investors or nonparties regarding the Agreement.

          As stated above, I received the G7 diamonds just yesterday (October 29th), and they are

   secured in the receivership safe deposit box. In order to ensure the transport of these pieces was

   safe given the large combined value of the pieces, I retained an armed security firm headed by a

   former federal agent, whose agents accompanied me and my counsel to G7 to take physical

   delivery of the 53 pieces and to safely transport the pieces to the location where I have a

   receivership safe deposit box. G7 was very cooperative and helpful and the process was efficient

   and uneventful.

          On another note, since this proceeding began, I have learned that eight of the 53 pieces are

   actually owned by five individuals. Four of these five individuals have contacted me and have

   satisfactorily provided documentary proof of their ownership of their specific pieces. One

   individual has not contacted me, but I have independently confirmed this person’s interest in one




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   of the pieces. 5 As stated above, I will be filing a motion to determine the ownership of these

   specific diamonds.

                          ii.     Provident Jewelry

            Like G7, Provident Jewelry, namely the 331 Clematis Street store, received some diamonds

   in a similar fashion. I (as Corporate Monitor) sent an immediate demand to maintain the status

   quo of the various diamonds and jewelry pieces. Provident Jewelry ignored my initial demand

   email as well as my follow-up letter. Therefore, I will be evaluating the necessary actions against

   that company.

            3. The Horses

            As previously reported, I seized four jumping horses in connection with the Corporate

   Monitor Action and before the filing of this action whose care and management were funded by

   primarily EFDG (and thus investors) before my appointment. I relocated the horses to a new

   facility, continued to care for them through the EFDG/NDIC bank account, marketed them for

   sale, and ultimately signed three purchase agreements to sell all four horses for a total of $175,500,

   the funds of which I have received and deposited in the EFDG/NDIC account (that account funded

   the care, maintenance, and appraisals for the horses). I filed two motions to approve the horses’

   sales (one motion when two purchase agreements were signed, and one motion in a self-executing

   manner before the third and final purchase agreement (for the two remaining horses) was signed),

   which this Court promptly granted [DE 105-106, 135, 138, and 141].

            4. Argyle’s Technology

            I provided notice of the Appointment Order to certain vendors including Ideofuzion, a

   Pakistani company and the developer of Argyle’s cryptocurrency technology, blockchain, and



   5
       One person owns four diamonds, and four people own the other four diamonds.

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   code. I will be investigating and evaluating whether Argyle’s cryptocurrency technology has any

   value, and if so, how much and how best to sell it.

          5. The Receivership Entities’ Bank Accounts

          The Receivership Entities maintained bank accounts at Bank of America. Again, there

   were no funds in the Receivership Entities’ accounts as of my appointment.

          I have performed a preliminary review of the bank records. Aman drained the corporate

   accounts to ensure there was a zero balance at the time of my appointment as Corporate Monitor

   and had spent many years living a very lavish multi-million-dollar lifestyle. It also appears that

   Aman transferred significant funds to others, including, but not limited to, the Seigels (through

   their company Relief Defendant HS) and Relief Defendant Winners Church and its pastor/bishop

   (Relief Defendants, the Shipmans).

          In addition to Bank of America, I learned that the Receivership Entities may have had prior

   accounts at BB&T Bank and PNC Bank. Like Bank of America, I served BB&T and PNC Banks

   with the Corporate Monitor Appointment Order and instructed them to freeze the company

   accounts. Although there were no accounts or funds identified in the accounts at BB&T and/or

   PNC Banks, BB&T Bank froze $1,350.51 in the name of related entity (Fancy Diamonds Private

   Investments LLC.) At my request, BB&T agreed to transfer the funds, which I received.

          6. The Office Items

          As previously reported, I removed the remaining office items/personalty from the former

   business premises and have sold the various office items for $2,555.00.

          In addition, there were 44 coins in one of the safes at the former business premises that I

   have secured. I intend to determine who owns the coins and ultimately whether they are subject

   to this proceeding. The coins are not part of any motion previously filed.



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          7. Diamonds Owned by Investors and Other Seigel Clients

          After my appointment as Receiver, I learned the names of several people, including

   investors and Seigel clients, who have asked me whether I have secured their diamonds. It appears

   that at least 14 identified diamonds owned by several investors or Seigel clients were held by G7,

   AIDC, EFDG’s landlord, and Seigel. Those 14 diamonds are in my possession and, as stated

   above, I will be filing a motion in the near future to determine their ownership and disposition.

          I have also communicated with several people who have represented to me that (i) they had

   purchased diamonds from the Seigels/their companies and (ii) thereafter the Seigels stored the

   diamonds in their safe, typically for purposes of a future auction or resale.                  Those

   investors/customers have asked me whether I have secured their diamonds. I have GIA reports of

   the cut/polished diamonds that I have secured and have the ability to check my inventory if the

   investor/customer provides the GIA number of his/her diamond. As state above, I have identified

   14 diamonds that I have secured in that manner. For the diamonds that I do not have, I have asked

   the Seigels to account for the location of each diamond that is the subject of the investor/customer’s

   inquiry, including previously and recently serving multiple rounds of formal written discovery on

   them. That process is ongoing, and I will continue to report on same in the future.

          8. The Colorado Property and Related Seigel Accounting Issues

          I am aware of the property in Colorado about which several investors have advised me. I

   will keep the victims updated regarding the ultimate disposition of this asset. As noted above, I

   have engaged in motion practice seeking the Court’s assistance in compelling the Seigels to

   provide information about the monies received by the Seigels from the Receivership Entities and

   how they used them. On September 8, 2020, Magistrate Judge Reinhart held a hearing on my

   motion to compel.      He ordered the Seigels to comply with their requirements under the

   Receivership Order and respond to my interrogatories and document requests (“my requests”) as

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   to the monies received from the Receivership Entities and inquiries about diamonds. [DE 244.]

   The Seigels have appealed that order to the district court, and the appeal has been fully briefed.

   Meanwhile, the appeal did not stay the requirement that the Seigels respond to my requests, and

   their motion to stay was denied. Despite this, they have not done so, and instead reiterated

   objections that were previously overruled. I will address this with the Court.

          Meanwhile, the Seigels entered into consent judgments with the SEC. As such, final

   judgments were entered against H.S. Management Group [DE 254], Harold Seigel [DE 255] and

   Jonathan Seigel [DE 256].

      E. A Description of Liquidated and Unliquidated Claims Held by the Receivership
         Estate, Including the Need for Forensic and/or Investigatory Resources; Approximate
         Valuations of Claims; and Anticipated or Proposed Methods of Enforcing Such
         Claims (Including Likelihood of Success in: (i) Reducing the Claims to Judgment;
         and, (ii) Collecting Such Judgments)

          I have begun the process of investigating potential litigation targets who either improperly

   received transfers directly or indirectly from the Receivership Entities and/or damaged the

   Receivership Entities (and ultimately the investors) due to their actions and/or inactions. As

   previously reported, whatever claims that I ultimately bring will be with the hopes, and a

   probability, of winning and collecting. Also, whatever claims that I ultimately bring must be fully

   vetted with and ultimately approved by the SEC. I remain very mindful and sensitive of the issue

   of expenses and the necessity for efficiency and limiting expenses as much as possible in every

   aspect of this proceeding, including investigating potential ancillary lawsuits for additional

   recoveries to benefit the Receivership Estate. I intend to continue to make every decision with a

   cost-benefit analysis of the amount needed to bring and prosecute the claim versus the potential

   recovery.

          Regarding the issue of forensic investigations, I have received many of the companies’

   bank records from Bank of America for the period of 2014 through 2019. As stated above, there

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   were no funds in the accounts as of my appointment. The dissipation and transfers occurred over

   many years. There are literally thousands of transactions to reconstruct, including those that are

   legitimate and many that are undoubtedly illegitimate. The SEC has previously provided me with

   their forensic reconstruction regarding solely investor transactions.

       F. A List of All Known Creditors with Their Addresses and the Amounts of Their
          Claims

           It appears that the Receivership Entities had hundreds of investors. It also appears that the

   Receivership Entities raised at least $30 million. I am still in the process of calculating the actual

   amount of money raised.        The amount of the investors’/creditors’ claims, as well as my

   recommended treatment of such, will be part of the anticipated future claims procedure (see section

   G, infra).

          When the Corporate Monitor Action began, I (as Corporate Monitor) obtained investor lists

   from Aman. However, the lists do not include what each investor has been repaid and do not

   include all of the investors’ names. I have been, and will continue to be, in constant contact with

   the investors. I will also be compiling my own investor list, including names and contact

   information, to ensure I know the universe of investors, the amounts they invested, and the amounts

   they received back, whether denominated as “interest” or “principal.”

          Regarding the receivership website (naturaldiamondsreceivership.com), I continue to

   update it with court filings and investor letters.      The receivership website also contains a

   registration form, 6 a “frequently asked questions” section to educate the investors about the

   receivership process, and an email address (naturaldiamondsreceivership@lklsg.com) and phone

   number (786.347.2563), so the investors may contact me directly. My staff, professionals, and I

   regularly communicate with investors.


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     The registration form is a helpful tool for investors and creditors to send me their name, contact
   information, and an estimate of the amount of money they believe they are owed.
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      G. The Status of Creditor Claims Proceedings, after Such Proceedings Have Been
         Commenced

          I would like to file a claims procedure motion in the near future, so that the procedure is in

   place once the diamonds are monetized. I am still considering the manner or method of

   distribution, such as the net claim amount method. My intention remains to conclude the claims

   proceeding as soon as possible with as little claims litigation as possible and ultimately repay with

   available receivership funds all legitimate investor and creditor claims as soon as possible.

      H. The Receiver’s Recommendations for a Continuation or Discontinuation of the
         Receivership and the Reason for the Recommendations

          It is still my recommendation that the Receivership should continue for the benefit of the

   many victimized investors, who are collectively owed tens of millions of dollars. The underlying

   investment scheme has all the ingredients of a massive Ponzi scheme affecting many victims in

   this Country and Canada.

          My overall investigation will be ongoing for some period of time. I will supplement this

   Sixth Report with my Seventh Report at the conclusion of the next quarter.


   Dated: October 30, 2020                               /s/ Jeffrey C. Schneider
                                                         Jeffrey C. Schneider, not individually,
                                                         but solely in my capacity as Receiver




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